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                               UNITED STATES DISTRICT COURT
                                                                                    FILED
                                EASTERN DISTRICT OF TEXAS                               OCT 0 5 2021
                                     SHERMAN DIVISION
                                                                                    Clerk, U.S. District Court
   UNITED STATES OF AMERICA §                                                       Eastern District of exas

                                                       §
                                                       §
   v. § CASE NUMBER 4:20-CR-00142-SDJ
                                                      §
                                                      §
   DANIEL AUSTIN DUNN 8


            WAIVER AND CONSENT TO PROCEED BEFORE UNITED STATES
                MAGISTRATE JUDGE FOR ENTRY OF GUILTY PLEA

         I am aware of my right to appear in open court and be addressed personally by a United

  States district judge when I enter my guilty plea in this case.

         I hereby knowingly, voluntarily and with advice of counsel waive my right to enter my

  guilty plea before a district judge, and I consent to have United States Magistrate Judge Kimberly
  C. Priest Johnson hear, accept and bind me to my guilty plea and make all appropriate fact findin s

 and determinations required by law including findings as to whether:

         1. lam fully competent and cap ble of entering an informed plea;

         2. lam aware of the nature of the charge(s) and consequences of my plea;

         3. My plea of guilty is a knowing and voluntary plea; and

         4. My plea of guilty is supported by an independent basis in fact containing each of
                the essential elements of the offense(s).
         I understand and agree that (a) the United States district judge assigned to my case may

 accept or reject my plea agreement, or defer such decision until the court reviews the presentence

 report; (b) upon conviction, sentencing will be conducted by a United States district judge; and (c)
 substantive or procedural conce s about my guilty plea proceedings before the magistrate judge

 are subj bt to de/novo review tjy a United States district judge.

                 Si ned this October 5, 2021.


 Attofoe for Defendant                                          Defendant



 Assistant Upite State Attorney
